                                                                                          SEALED BY ORDER
                                                                                           OF THE COURT


 1   STEPHANIE M.HINDS(CABN 154284)
     United States Attorney
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                                                                                JAH -6 2022
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                                                                           CLERK. U.S. DISTRICT COURT
 5                                                                       NORTHERN DISTRICT OF CALIFORNIA
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 8                                     UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                             OAKLAND DIVISION

11   UNITED STATES OF AMERICA,                           CASE NO.   CR 22 003
12           Plaintiff,                                  VIOLATIONS:
                                                         18 U.S.C. § 1349- Conspiracy to Commit Mail
13      V.
                                                         Fraud and Wire Fraud; 18 U.S.C. § 1341 - Mail
                                                         Fraud; 18 U.S.C. § 1343- Wire Fraud;
14   STACCATO POWELL,
     SHEILA QUINTANA,                                    18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)■
15                                                       Forfeiture Allegation
             Defendants.
16                                                       OAKLAND VENUE


17                                                       UNDER SEAL


18

19                                              INDICTMENT

20   The Grand Jury charges:

21                                            Introductory Allegations

22           At all times relevant to this Indictment:

23           1.      The African Methodist Episcopal Zion Church("AME Zion" or "Denomination") is a

24   historically African-American Christian denomination. It was founded in 1796 and has approximately

25   1.4 million members worldwide.

26           2.      The governing body ofthe Denomination is the General Conference, which convenes

27   every four years. Between quadrennial meetings of this body, the AME Zion Church is administered by
28   the Board of Bishops in accordance with the rules ofthe Denomination, which are laid out in the Book


     INDICTMENT
 1   of Discipline. Questions about interpretation ofthe Book of Discipline are heard by the Judicial Council
 2   for the Denomination.

 3          3.      The Denomination's Book of Discipline identifies the required mechanisms for
 4   transferring and encumbering properties, and further identifies the appropriate ownership status for
 5   congregational places of worship including specific title requirements.
 6          4.      Specifically, local church property cannot be disposed of or mortgaged outside of the
 7   safeguards established by the General Conference and set forth in the Book of Discipline as documented
 8   in. Book of Discipline (Paragraph 398, referred to as"The Trust Clause"):
 9          The Trustees shall not in any case whatsoever dispose ofchurch property by sale or otheiwise
            without the consent of the majority ofthe members in full connection, expressed by vote in a
10
            meeting called for that purpose, of which due notice has been given. Provided, however, that no
11          congregation. Pastor, nor Trustee, Board or agent ofthe congregation shall mortgage or sell and
            property ofthe African Methodist Episcopal Zion church without confirmation ofthe Quarterly
12          Conference and written consent ofthe Bishop.
13          5.      The Book of Discipline includes additional provisions for all assets owned by an AME
14   Zion church congregation through requirement of a trust clause for all property owned and maintained
15   by local churches(Paragraph 394):

16          In trust that said premises shall be used, kept, maintained, and disposed of as a place of divine
            worship for the use ofthe ministry, and membership ofthe African Methodist Episcopal Zion
17
            Church in America, subject to the provisions ofthe Discipline, usage and ministerial
18          appointments of church, as from time to time authorized and declared by the General Conference
            of said church, and by the Annual Conference within whose bounds the said premises are
19          situated. This provision is solely for the benefit of the grantee, and the grantor reserved no right
20
            or interest in said premises.

            6.      The AME Zion Church is geographically divided into 12 districts, each of which is led by
21

     a bishop. Within each geographical district, a bishop has wide authority, including the ability to fire and
22

     hire pastors of churches. The power of a bishop is, however, constrained by the Book of Discipline, by
23

     the Board of Bishops, and, ultimately, by the General Conference. The Denomination's Western
24

     Episcopal District is comprised of chmxhes in Alaska, Arizona, California, Colorado, Oregon, and
25

     Washington.
26

            7.      At a local level, congregations are guided by a pastor, but self-govern in accordance with
27

     Denominational policy through quarterly congi-egational conferences ("Quarterly Conference").
28



     INDICTMENT                                      2
 1   Additionally, each local congregation utilizes a Board of Trustees which holds general responsibility for
 2   all real property held by the congregation, and a Board of Stewards which oversees all financial matters

 3   for the church. Both the Board of Trustees and the Board of Stewards are amenable and subject to the
 4   direction of the Quarterly Conference, made up of the congregation itself, which is further restrained by
 5   the Denominational church law as documented in the Book of Discipline.
 6          8.      Defendant STACCATO POWELL is a former bishop ofthe AME Zion Church.

 7   POWELL,a native of North Carolina, is a graduate of divinity school and law school. He was a pastor
 8   in the AME Zion Church for approximately 30 years before his selection in 2016 as bishop for the
 9   Western District ofthe AME Zion Church. At all times relevant,POWELL lived in Fontana, California;

10   Granite Bay, California; and Wake Forest, North Carolina.

11          9.      At all times relevant, Defendant SHEILA QUINTANA resided in Vallejo, California.

12          10.     Shortly after his selection as Bishop, on or about October 28,2016,POWELL,along with
13   QUINTANA and other persons known and unknown to the Grand Jury, incorporated the AME Zion

14   Western Episcopal District("WED,Inc."), a corporation formed under the laws ofthe State of

15   California.

16          11.     The Articles ofIncorporation/Bylaws of WED,Inc. were signed October 28, 2016, by

17   officers including QUINTANA,a Chief Financial Officer. Article I stated,"The name of this

18   organization shall be the AME Zion Western Episcopal District, Incorporated." Article III stated,

19   "Governance of this organization shall be the responsibility ofthe Presiding Bishop ofthe Western

20   Episcopal District of the A.M.E. Zion Church who is assigned by the General Conference ofthe African

21   Methodist Episcopal Church, Inc. All board members ofthis organization, except the presiding bishop,
22   shall serve a period of one year subject to re-nomination by the presiding bishop with confirmation from

23   the Western Episcopal District ofthe A.M.E.Zion Church."

24          12.    On or about March 1, 2017, Defendants and other persons known and unknown to the

25   Grand Jury filed a Statement ofInformation for WED,Inc. with the Secretary of State ofthe State of
26   California, listing POWELL as Chief Executive Officer and QUINTANA as Chief Financial Officer of

27   WED,Inc. On or about October 24, 2018, Defendants and other persons known and unknown to the

28   Grand Jury filed a Statement of Information for WED,Inc. with the Secretary of State ofthe State of


     INDICTMENT                                     3
 1   California, listing POWELL as Chief Executive Officer and QUTNTANA as Chief Financial Officer of

 2   WED,Inc. On or about January 28, 2021, Defendants and other persons known and unknown to the

 3   Grand Juiy filed a Statement ofInformation for WED,Inc. with the Secretary of State ofthe State of
 4   California, listing POWELL as Chief Executive Officer and another individual as Chief Financial

 5   Officer of WED,Inc.

 6           13.    On July 30, 2020,the entity WED,Inc. filed for Chapter 11 protection in the US
 7   Bankruptcy Court for the Eastern District of California. In a Schedule of Assets filed by the debtor,
 8   WED,Inc. claimed to own eleven churches, a parsonage, and POWELL'S official residence. The filings
 9   in the case showed the real property was worth $26,338,031. The filings also showed debts on the

10   properties in the amount of $12,475,453. The overwhelming majority ofthese liabilities were high-
11   interest loans provided by private investors ("hard money lenders"). A Chapter 11 trustee was appointed
12   on March 1, 2021, and he subsequently took control ofthe assets. The bankruptcy petition has not yet

13   been discharged.

14                                            The Scheme to Defraud

15           14.    As set forth below,POWELL,QUINTANA,and others schemed to defraud the AME

16   Zion Denomination and its congregations by misusing positions of trust to fraudulently obtain title to

17   church property throughout the western United States, use church property as collateral for loans from

18   hard money lenders, and use a portion ofthe loan proceeds to personally enrich themselves.

19                                               Manner and Means

20           15.    After formation of WED,Inc., POWELL,QUINTANA,and others fraudulently acquired
21   title to the church properties through a campaign of pressure and misinformation targeting pastors who
22   served at tlie pleasure ofPOWELL. In some cases,POWELL,QUINTANA,and others changed deeds
23   for church properties under false pretenses, using forged signatures or other misrepresentations to create
24   or obtain resolutions purporting to confirm congregational approval oftheir scheme. In other cases,

25   pastors believed they were signing over their churches' grant deeds to the Denomination because

26   POWELL falsely represented that their deeds were not compliant with the Book of Discipline. This
27   compliance issue was manufactured by POWELL,whose real purpose was to acquire title to the

28   properties so he could use the properties as collateral to obtain loans for puiposes not sanctioned by the


     INDICTMENT                                       4
     Denomination, including to enrich himself and QUINTANA.

 2           16.    As part offraudulently obtaining title to the properties,POWELL materially failed to
 3   disclose to the pastors and/or congregations that he would be using the properties as collateral for
 4   significant high interest loans that the congregations would be unable to repay. In some cases,

 5   POWELL omitted that information, such that the pastors and/or congregations had no idea that their

 6   churches would be encumbered. In other situations, POWELL suggested that their property might be
 7   used as collateral, but that the loan amounts would be small and manageable debt for the congregations.
 8   The pastors and congregations in those cases were still misled as to the size of the loans, the purpose of

 9   the loans, and their ultimate responsibility for paying off the debts.

10           17.    Based on POWELL'S false statements and material omissions, the pastors deeded the

11   properties to WED,Inc., which was not an entity controlled by the Denomination but by POWELL
12   personally as CEO. If any pastor expressed misgivings, POWELL and QUINTANA insisted that the

13   pastor change the deeds to their congregations' properties, placing the properties in the name of WED,

14   Inc. POWELL and QUINTANA falsely informed the dissenting pastors that the Denomination's

15   governing rules required the change to the deeds.

16          18.     After taking control of the church properties, POWELL,QUINTANA,and others used

17   the real estate as collateral to obtain high interest loans. The total proceeds ofthe loans exceeded $14

18   million in net proceeds. Additional funds were recycled back into the various properties through

19   refinance processes.

20          19.     Throughout their scheme,POWELL,QUINTANA,and others known and unknown to

21   the Grand Jury used or caused the use of interstate wire communications and/or mails in furtherance of

22   the scheme.

23                                 The Kyles Temple AME Zion Church of Vallejo

24          20.     At the beginning of his term as bishop, POWELL devised a plan to purchase an episcopal

25   residence in the Western District- his official home - in Granite Bay, California.

26          21.     To purchase the episcopal residence, POWELL and QUINTANA used the Kyles Temple

27   AME Zion Church of Vallejo, California as collateral for a loan. At a February 2017 meeting in

28   Atlanta, Georgia,POWELL told the pastor of Kyles Temple that he wanted to use Kyles Temple as


     INDICTMENT                                       5
 1   collateral. The pastor asked POWELL to provide a written proposal, in order to provide the
 2   congregation with the opportunity to approve it as required under the Denomination's Book of

 3   Discipline. Instead,POWELL,QUINTANA,and others encumbered Kyles Temple.

 4           22.     To obtain the loan, POWELL'S assistant falsely claimed to be the secretary of Kyles
 5   Temple and provided a purported resolution from that church giving authority to QUINTANA to
 6   negotiate with lenders. QUINTANA obtained the loan on March 23,2017, using Kyles Temple as
 7   collateral to borrow $500,000.

 8           23.     The pastor of Kyles Temple informed the congregation at a quarterly meeting on or about

 9   May 14, 2017, that he had no knowledge of, nor did he approve, any loan to be taken out on the church.

10           24.    In an email dated May 17, 2017, QUINTANA asked POWELL,"When do you wish to

11   inform Kyles Temple about the $500,000 loan we are guaranteeing?"

12          25.      Shortly after the May 2017 quarterly conference meeting,POWELL removed the Kyles
13   Temple pastor, who relocated to an AME Zion Church in Pennsylvania.

14          26.     Lay leaders of Kyles Temple asked the Denomination's Judicial Council to rule on the

15   issue of whether church property can be sold or mortgaged without consent ofthe congregation.

16          27.     On November 3, 2017, the Denomination's Judicial Council informed POWELL and

17   QUINTANA that the encumbering of Kyles Temple's property was contrary to church law. The

18   Judicial Council told POWELL and QUINTANA that there was a four-prong test for such transactions,
19   requiring: 1)approval by the congregation's board of trustees; 2) majority vote in a meeting ofthe

20   congregation as a whole; 3)approval by the regional quarterly conference;^d finally, 4)assent by the
21   district's bishop.

22                                      First AME Zion Church ofSan Jose

23          28.     After the difficulty in obtaining the loan against the Kyles Temple property, POWELL
24   and QUINTANA moved ahead with their scheme. Instead offalsely representing their authority to
25   encumber the congregations' properties, they used false representations and material omissions to

26   induce the pastors or other congregation authorities to sign over the deeds to various properties to the
27   "Western Episcopal District." POWELL and QUINTANA then used their control of WED,Inc, to

28   encumber those properties with high interest loans that the congregations could not pay back.


     INDICTMENT                                       6
 1           29.    On a date no later than September 24,2017, QUINTANA,with POWELL'S knowledge,
 2   sent a resolution to the First AME Zion Church of San Jose, California, and requested its execution. The

 3   resolution would have transferred title to the church's real property to the Western Episcopal District of
 4   the AME Zion Church. At a meeting on September 24, 2017, the congregation's board of trustees
 5   reviewed the resolution and the church's existing deed. The pastor ofthe church was present at that
 6   meeting. At a second meeting on October 1, 2017, the board of trustees concluded that the existing deed
 7   complied with Denomination policy and that there was no reason to approve tlie resolution transferring
 8   title. The pastor of the San Jose church was present at that meeting as well.
 9           30.    Despite the board of trustees' refusal to transfer the title, on or about October 6, 2017,

10   QUINTANA prepared a false resolution puiporting to memorialize a vote by the San Jose congregation

11   authorizing the pastor of the San Jose church to sign the transfer of title. No such vote ever took place.
12           31.    QUINTANA, with POWELL'S knowledge, submitted the false resolution along with a
13   transfer of title signed by the pastor ofthe San Jose church in support of a hard money loan application

14   using the property ofthe San Jose church as collateral. On October 18, 2017, a deed of trust mortgage
15   on the church's property in the amount of $750,000 was recorded, with the loan proceeds of

16   $719,101.67 net of expenses and costs paid to WED,Inc. QUINTANA and POWELL obtained

17   subsequent mortgages in 2019 for $2,150,000 and $3,000,000 on the church's property, all without the
18   knowledge or consent ofthe board of trustees.

19                                     Obtaining Additional Titles and Loans

20           32.    On or about September 13, 2017,POWELL and QUINTANA falsely informed the pastor
21   of University AME Zion Church of Palo Alto, California, that the congregation's property would be
22   used as collateral to pay the debt of another AME Zion congregation in Sacramento. POWELL and

23   QUINTANA falsely represented that ifthe pastor signed over the title, that the resulting loan would be
24   no more than the $200,000 that the Sacramento church owed. POWELL and QUINTANA then

25   consummated loans in an amount to exceed $3,000,000 using University AME Zion Church as

26   collateral.

27           33.    On or about October 5, 2017,POWELL and QUINTANA falsely informed the pastor of

28   Greater Cooper AME Zion Church of Oakland, California, that church policy required him to sign over


     INDICTMENT                                       7
 1   the grant deed to the church and a related property. POWELL and QUINTANA did not inform the

 2   pastor that they intended to, and subsequently did, use Greater Cooper properties as collateral for high
 3   interest loans exceeding $2,000,000.

 4           34.    On or about October 10, 2017,POWELL and QUINTANA produced a fraudulent

 5   resolution purporting to state the approval ofthe congregation of First AME Zion Church of Los
 6   Angeles, California, for a $1,200,000 loan using the church property as collateral. POWELL and

 7   QUINTANA then used a fraudulent grant deed purporting to be signed by an authorized person to obtain
 8   loan using the First AME Zion Church of Los Angeles property as collateral. The loan documents

 9   indicate a close of escrow on December 28, 2017. The confirmation of wiring documents shows that
10   $1,135,128.56 was wired to WED,Inc.'s bank account.

11          35.     The encumbering of properties by POWELL and his co-conspirators was public record
12   and it gradually became known to pastors and congregations. Some church members filed complaints
13   within the AME Zion Church governing structure. On or about January 4, 2019, AME Zion Church
14   authorities instructed POWELL to unwind his actions and return the deeds to the congregations.
15   Nonetheless,POWELL,QUINTANA,and their co-conspirators continued to acquire and encumber
16   properties.

17                                          Use ofProceeds ofthe Scheme

18          36.     POWELL also used proceeds of loans made on Denomination properties for the benefit
19   of himself and his family. For example, he used proceeds ofthe loan obtained on the First AME Zion
20   Church of Los Angeles to add land to his family farm in Flallsboro, North Carolina. On or about

21   November 15, 2019,POWELL used $14,000 in loan proceeds to pay down the mortgage debt on his
22   personally-owned residence in Wake Forest, Noith Carolina.

23          37.     Those loan proceeds were transferred via wire using a domestic electronic funds transfer

24   system known as the Fedwire system, which is owned and operated by the United States Federal
25   Reserve System. All Fedwire wire transfers alleged in this Indictment were electronically routed
26   through Fedwire centers in East Rutherford, New Jersey, Dallas, Texas, or outside California and into

27   accounts in the Northern District of California. All ofthe wire transfers alleged in this Indictment
28   travelled between one state and another state.



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 1          38.     QUINTANA also used her position to enrich herself. She drafted checks, drawn on

 2   WED,Inc.'s bank account, which she made payable to her husband. Her husband performed no services

 3   for WED,Inc.

 4          39.     In 2019, some ofthe church congregations began to receive notice that loans on their

 5   churches were in default. By mid-2020, all ofthe hard money loans were in default, and WED,Inc.

 6   filed for Chapter 11 bankruptcy protection.

 7          40.     The Denomination's Board of Bishops voted to relieve POWELL of his financial and

 8   administrative authority for the District on August 7, 2020, and informed him ofthat decision on August

 9   8, 2020.

10          41.     Despite being relieved of his authority, in November 2020 POWELL contacted the pastor

11   ofthe AME Zion Church Sacramento to request that the pastor change the deed of that church to name

12   WED,Inc., as owner.

13          42.     On July 29, 2021, as noted above,the General Conference for the Denomination

14   "disrobed" or stripped POWELL of his title as bishop.

15   COUNT ONE:            (18 U.S.C. § 1349- Conspiracy to Commit Wire Fraud and Mail Fraud)

16          43.     Paragraphs 1 through 42 of this Indictment are re-alleged and incorporated as if fully set

17   forth here.

18          44.     Beginning on a date unknown, but no later than on or about October 28,2016, and

19   continuing through on or about July 29, 2021, in the Northern District of California and elsewhere, the

20   defendants,

21                                            STACCATO POWELL             ,
                                                    and
22                                            SHEILA QUINTANA,

23   and others known and unknown to the Grand Jury, did knowingly and intentionally conspire and agree

24   together and with each other to commit wire fraud, in violation of Title 18, United States Code, Section

25   1343, and mail fraud, in violation of Title 18, United States Code, Section 1341, by devising a scheme

26   and artifice to defraud as to a material matter and to obtain money by means of materially false and

27   fraudulent pretenses, representations, and promises, and by omission and concealment of material facts,

28   specifically by obtaining title to church properties and obtaining loans using those properties as


     INDICTMENT                                       9
 1   collateral, through making the false and fraudulent representations and material omissions as set forth in
 2   this Indictment.

 3             45.    All in violation of Title 18, United States Code, Section 1349.

 4   COUNTS TWO AND THREE:                  (18 U.S.C. § 1343- Wire Fraud)
 5             46.    Paragraphs 1 through 45 ofthis Indictment are re-alleged and incorporated as if fully set
 6   forth here.

 7             47.    On or about the dates set forth below, in the Northern District of California and

 8   elsewhere, the defendants,

 9                                              STACCATO POWELL
                                                      and
10                                              SHEILA QUINTANA,

11   having knowingly and with the intent to defraud participated in, devised, and intended to devise a
12   scheme and artifice to defraud as to a material matter, and to obtain money and property by means of
13   materially false and fraudulent pretenses, representations, and promises, and by means of omission and
14   concealment of material facts, did knowingly transmit and cause to be transmitted in interstate and
15   foreign commerce, by means ofa wire communication, certain writings, signs, signals, pictures, and
16   sounds for the puipose of executing such scheme and artifice, that is, electronic funds transfers ofloan

17   proceeds to and from bank accounts controlled by POWELL and QUINTANA,as further set forth

18   below:

19      Count          Date                                    Wire Transfer

20         2         12/29/2017   $1,135,128.56 wire transfer via FedWire from Green Escrow Services,
21                                Inc.'s Mechanics Bank Account in Walnut Creek, California to WED,

22                                Inc.'s Bank of Stockton Account.

23         3         11/15/2019   $14,000 wire transfer via FedWire from WED,Inc.'s Wells Fargo Account
24                                to SN Servicing's Account in Eureka, California.
25            48.     All in violation of Title 18, United States Code, Section 1343.
26   COUNT FOUR:(18 U.S.C. § 1341 - Mail Fraud)
27            49.     Paragraphs 1 through 48 of this Indictment are re-alleged and incorporated as iffully set
28   forth herein.



     INDICTMENT                                       10
 1            50.     On or about the date set forth below, in the Northern District of California and elsewhere,
 2   defendant,

 3                                               STACCATO POWELL,

 4   having knowingly and with the intent to defraud participated in, devised, and intended to devise a
 5   scheme and artifice to defraud as to a material matter, and to obtain money and property by means of
 6   materially false and fraudulent pretenses, representations, and promises, and by means of omission and
 7   concealment of material facts, knowingly deposited and caused to be deposited to be sent and delivered
 8   by a private and commercial interstate carrier the following mailing for the purpose ofexecuting such
 9   scheme and artifice:

10
       Count           Date                                        Item Mailed
11
          4         12/29/2017      Grant Deed to the African Methodist Episcopal Zion Church, also known
12
                                   as the First Church of Los Angeles, sent via Federal Express by POWELL
13
                                   from Georgia to San Ramon, California
14

15            51.     In violation of Title 18, United States Code, Section 1341.

16   FORFEITURE ALLEGATION:                  (18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c))

17            52.     The allegations contained in this Indictment are re-alleged and incorporated by reference

18   for the purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

19   Title 28, United States Code, Section 2461(c).

20            53.     Upon conviction for any ofthe offenses set forth in this Indictment, the defendants,

21                                              STACCATO POWELL
                                                      and
22                                               SHEILA QUINTANA,

23   shall forfeit to the United States, pursuant to Title 18, United States Code, Section 981(a)(1)(C) and

24   Title 28, United States Code, Section 2461(c), all property, real or personal, constituting, or derived

25   from proceeds the defendant obtained directly and indirectly, as the result ofthose violations.

26            If any ofthe property described above, as a result of any act or omission ofthe defendant:

27                    a.      cannot be located upon exercise of due diligence;

28                    b.      has been transferred or sold to, or deposited with, a third party;


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 1                  c.      has been placed beyond the jurisdiction ofthe court;

 2                  d.      has been substantially diminished in value; or

 3                  e.      has been commingled with other property which cannot be divided without

 4                          difficulty,

 5   the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
 6   United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).
 7          All pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28, United States Code,
 8   Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

 9

10   DATED; Januaiy 6,2022                                         A TRUE BILL.

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12
                                                                  FOREPERSON
13

14   STEPHANIE M.HINDS
     United States Attorney
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16
      Isl                Jlee
17   fOhTATHAN U. EE
     JONATHAN     LEE
     SAMANTHA BENNETT
18   Assistant United States Attorneys

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     INDICTMENT                                      12
